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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

PRESS ROBINSON, et al.,

                     Plaintiffs,                    Civil Action No. 3:22-cv-00211-SDD-SDJ

               v.                                   Chief Judge Shelly D. Dick

KYLE ARDOIN, in his official capacity as            Magistrate Judge Scott D. Johnson
Secretary of State for Louisiana,

                     Defendant.

EDWARD GALMON, SR., et al.,

                     Plaintiffs,                    Consolidated with
                                                    Civil Action No. 3:22-cv-00214-SDD-SDJ
               v.

R. KYLE ARDOIN, in his official capacity as
Secretary of State for Louisiana,

                     Defendant.

                    LEGISLATIVE INTERVENORS’ NOTICE OF APPEAL

       Notice is given that Legislative Intervenors Clay Schexnayder, Speaker of the Louisiana

House of Representatives, and Patrick Page Cortez, President of the Louisiana Senate, in their

respective official capacities, hereby appeal to the United States Court of Appeals for the Fifth

Circuit from the order of June 6, 2022 issuing an injunction, Doc. 173, and all orders related to, or

forming the basis of, that injunction.
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                                              Respectfully submitted,

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Richard B. Raile*                             Representatives, and of Patrick Page Cortez, in
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                                CERTIFICATE OF SERVICE

        I certify that on June 6, 2022, this document was filed electronically on the Court’s
electronic case filing system. Notice of the filing will be served on all counsel of record through
the Court’s system. Copies of the filing are available on the Court’s system.

                                                    /s/ Erika Dackin Prouty
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                                                    in his Official Capacity as President of the
                                                    Louisiana Senate




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